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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JANE DOE 4,
                          Plaintiff,
                                                  CIVIL ACTION
      v.                                          NO. 1:19-cv-03845-WMR
RED ROOF INNS, INC., et al.,
                          Defendants.


                                       ORDER

      In its earlier Order on the Defendants’ respective motions to dismiss, the Court

dismissed certain Defendants without prejudice and specifically reserved the right

for Plaintiff to move to amend the pleadings during or after discovery to add the

dismissed Defendants back into the case if discovery warrants their inclusion as

parties. [See Doc. 182]. Since the entry of that order, however, the Court granted

Plaintiff’s motion for entry of judgment as to Defendants Choice Hotels

International, Inc. (“Choice”), Wyndham Hotels & Resorts, Inc. (“Wyndham”), and

Microtel Inn & Suites Franchising, Inc. (“MISF”) under Rule 54(b) [see Doc. 194],

and Plaintiff has specifically requested that the dismissal as to these Defendants be

changed from dismissal without prejudice to dismissal “with prejudice.” In so doing,

Plaintiff has stipulated that her case against Choice, Wyndham, and MISF will “rise

or fall” on the existing allegations and the outcome of the forthcoming appeal, and
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that she is waiving her right to later seek leave to add these Defendants if she is

unsuccessful in her appeal. See Schuurman v. Motor Vessel Betty K V, 798 F.2d

442, 445 (11th Cir. 1986) (holding that if a plaintiff who was given leave to amend

the complaint appeals instead of amending, the plaintiff “waives the right to later

amend the complaint, even if the time to amend has not yet expired”). Accordingly,

at Plaintiff’s request, the Court will amend its earlier ruling [Doc. 182] and dismiss

Defendants Choice, Wyndham, and MISF with prejudice.

      Based on the foregoing, it is hereby ORDERED that Defendants Choice

Hotels International, Inc., Wyndham Hotels & Resorts, Inc., and Microtel Inn &

Suites Franchising, Inc. are DISMISSED WITH PREJUDICE. It is further

ORDERED that all other aspects of the Court’s orders granting the motions to

dismiss [Doc. 282] and granting entry of judgment pursuant to Rule 54(b) and

certification under 28 U.S.C. § 1292(b) [Doc. 194] not specifically addressed herein

shall remain in effect. The Clerk is DIRECTED to amend its entry of final judgment

[Doc. 195] to reflect that the claims against Choice Hotels International, Inc.,

Wyndham Hotels & Resorts, Inc., and Microtel Inn & Suites Franchising, Inc. are

dismissed with prejudice.

      IT IS SO ORDERED, this 6th day of May, 2020.




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